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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                             FORT MYERS DIVISION

UNITED STATES OF AMERICA

VS.                                                 CASE NO: 2:11-CR-129-FtM-29SPC

PEDRO MAXMILIANO RIVERO


                                            ORDER

       This matter comes before the Court on the Motion for Order Authorizing

Paralegal/Investigator to Have Contact Visits with Defendant Rivero (Doc. #75) filed on March

29, 2012. Counsel for the Defendant moves the Court for an Order granting permission to allow

his paralegal/investigator, John Garcia, full contact visits with the Defendant while incarcerated

at the Lee County Jail. The US Attorney’s office has not filed or otherwise notified the Court of

an objection. The Court, having considered the motion, finds good cause and will grant the relief

requested. Accordingly, it is now


       ORDERED:


       The Motion for Order Authorizing Paralegal/Investigator to Have Contact Visits with

Defendant Rivero (Doc. #75) is GRANTED. John Garcia, Paralegal/Investigator for Glenn H.

Mitchell, Esq., is permitted to visit the Defendant pursuant to the guidelines and policies of the

Lee County Jail.


       DONE AND ORDERED at Fort Myers, Florida, this 11th Day of April, 2012.




Copies: Counsel of Record
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